934 F.2d 321Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James E. WOOD, on behalf of the ESTATE OF Oscar J. WOOD, Petitioner,v.DIRECTOR, OFFICE OF WORKERS' COMPENSATION PROGRAMS, UNITEDSTATES DEPARTMENT OF LABOR, Respondent.
    No. 91-2346.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 6, 1991.Decided May 28, 1991.
    
      On Petition for Review of an Order of the Benefits Review Board.  (88-2517-BLA)
      James E. Wood, petitioner pro se.
      Michael John Denney, Edward Waldman, United States Department of Labor, Washington, D.C., for respondent.
      Ben.Rev.Bd.
      AFFIRMED.
      Before DONALD WILKINSON and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      James E. Wood seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of black lung benefits pursuant to 30 U.S.C. Secs. 901 et seq.    Our review of the record and the Board's decision and order discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the Board.  Wood v. Director, Office of Worker's Compensation Programs, 88-2517-BLA (Ben.Rev.Bd. Jan. 24, 1991).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.1
    
    
      2
      AFFIRMED.
    
    
      
        1
         We note that Wood may submit additional medical evidence in support of a motion for modification filed with the deputy commissioner pursuant to 20 C.F.R. Sec. 725.310
      
    
    